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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )             Case No. 1:18-cv-02840
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )             MOTION FOR ADMISSION, PRO
                                         )             HAC VICE, OF KIMBERLY PRIOR
                           Defendants. )               AS ADDITIONAL COUNSEL FOR
                                         )             PLAINTIFF
                                         )


       Plaintiff American Oversight, by and through its undersigned counsel, Joseph F.

Yenouskas, an active member of the United States District Court for the District of Columbia,

hereby moves pursuant to Local Civil Rule 83.2(d), for the pro hac vice admission of Kimberly

Prior, in the above-captioned case. Kimberly Prior is a member in good standing of the State

Bar of Massachusetts. She is employed as an attorney with Goodwin Procter LLP located at 100

Northern Avenue, Boston, MA 02210. In support of this Motion, Kimberly Prior’s declaration is

filed herewith.

Dated: December 11, 2018                           Respectfully submitted,

                                                   /s/ Joseph F. Yenouskas
                                                   Joseph F. Yenouskas (D.C. Bar No. 414539)
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